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 4
 5                      UNITED STATES DISTRICT COURT
 6                     EASTERN DISTRICT OF CALIFORNIA
 7
                                      )       1:04-cv-06490        OWW JLD
 8   MICHAEL NEVEAU,                  )
                                      )       MEMORANDUM DECISION AND
 9                  Plaintiff,        )       ORDER RE DEFENDANTS’
                                      )
10        v.                          )       (1) MOTION TO DISMISS
                                      )       PURSUANT TO FED. R. CIV. P.
11   CITY OF FRESNO, a municipality; )        12(b)(6);
     JERRY DYER, individually;        )
12   MICHAEL GUTHRIE, individually;   )       (2) MOTION FOR A MORE
     GREG GARNER, individually;       )       DEFINITE STATEMENT PURSUANT
13   DARREL FIFIELD, individually;    )       TO FED. R. CIV. P. 12(e);
     MARTY WEST, individually;        )       AND
14   ROGER ENMARK, individually; and )
     DOES 1 through 10,               )       (3) MOTION TO STRIKE
15                                    )       PORTIONS OF THE SECOND
                                      )       AMENDED COMPLAINT PURSUANT
16                  Defendants.       )       TO FED. R. CIV. P. 12(f).
                                      )
17   ________________________________ )
18
19
20                            I.    INTRODUCTION
21
22        This is a civil rights action by a City of Fresno police
23   officer against the City of Fresno and several individual members
24   of the City of Fresno Police Department.      Michael Neveu
25   (“Plaintiff”) brings a civil rights claim under 42 U.S.C. § 1983
26   and under two California state “whistleblower” statutes.
27   Defendants CITY OF FRESNO, JERRY DYER, MICHAEL GUTHRIE, GREG
28   GARNER, DARREL FIFIELD, MARTY WEST, and ROGER ENMARK

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 1   (“Defendants”) move to dismiss Plaintiff’s Third Amended
 2   Complaint.   (Doc. 41 Defs.’ Mot.; Doc. 42, Defs.’ Mem.)
 3   Plaintiff opposes the motion.      (Doc. 47, Pl.’s Opp.)
 4
 5                        II.       PROCEDURAL HISTORY
 6
 7        Plaintiff filed his original complaint on November 1, 2004.
 8   (Doc. 1, Compl.)   Plaintiff filed the operative Third Amended
 9   Complaint on July 25, 2005.      (Doc. 39, Third Am. Compl.)
10   Plaintiff’s Third Amended Complaint contains three claims, all
11   which arise out of Plaintiff’s complaint that Defendants
12   retaliated against him for having reported sexual misconduct,
13   racial harassment, and cheating on police department promotional
14   exams: (1) 42 U.S.C. § 1983 (first amendment retaliation);
15   (2) Cal. Labor Code § 1102.5 (whistleblower retaliation); and
16   (3) Cal. Gov. Code § 53298 (whistleblower retaliation).
17   Defendants seek to dismiss various claims and to strike
18   allegations contained in the Third Amended Complaint.           (Doc. 42,
19   Defs.’ Mem.)   Plaintiff filed opposition on September 16, 2005.
20   (Doc. 47, Pl.’s Opp.)   Defendants replied on September 26, 2005.
21   (Doc. 48, Defs.’ Reply)
22        Oral argument was heard on October 3, 2005.          Michael A.
23   Morguess, Esq., appeared on behalf of Plaintiff.          Joseph D.
24   Rubin, Esq., appeared on behalf of Defendants.
25
26                       III.   SUMMARY OF PLEADINGS
27
28        This civil rights action is brought by a Fresno City police

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 1   officer against the City of Fresno, the Fresno Police Chief, and
 2   five individual Fresno City Police officers.        Plaintiff brings
 3   his § 1983 claim based on an alleged violation of his first
 4   amendment right to freedom of expression.       Plaintiff claims he
 5   was retaliated against for reporting to his superiors a number of
 6   incidents of sexual harassment, racial discrimination, and
 7   cheating on police department exams.     The allegations in the
 8   complaint are taken as true for the purpose of this motion to
 9   dismiss.
10        Plaintiff alleges two adverse employment actions.           First,
11   from June 1997 through December 2002, Defendants WEST, FIFIELD,
12   GUTHRIE, and GARNER failed to promote him despite his high
13   qualifications and performance.     Second, in March 2004,
14   Defendants DYER, ENMARK, and GUTHRIE placed Plaintiff on
15   administrative leave and required Plaintiff to undergo
16   psychological examinations to determine his fitness for duty.
17   Despite the recommendations of three psychologists that he was
18   fit for duty, Defendants refused to reinstate him to duty in July
19   2004.1
20        Plaintiff claims he was retaliated against for four
21   allegedly protected first amendment activities.         These
22   allegations are addressed in greater detail in the July 2005
23   order granting in part Defendants’ motion to dismiss.           (Doc. 35,
24   “July 2005 Order”)    First, Plaintiff reported alleged sexual
25   misconduct by Richard Mata, a suspended police department
26   official who was under investigation for improper sexual behavior
27
28        1
              Plaintiff has since been reinstated to duty.

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 1   towards a minor.   Plaintiff alleges that Internal Affairs asked
 2   Plaintiff to report to their office in writing any information he
 3   obtained regarding Mata.      WEST instructed Plaintiff not to put
 4   any information regarding Mata in writing or report any
 5   information to Internal Affairs.        Instead, WEST instructed
 6   Plaintiff to report such information verbally to his chain of
 7   command.   Second, Plaintiff alleges that he reported to his
 8   immediate supervisors in writing racial discrimination against
 9   Southeast Asian police officers.        Third, Plaintiff submitted an
10   end-of-the year report involving the “banking” of overtime hours.
11   Fourth, Plaintiff testified at an administrative hearing
12   regarding cheating on police promotional exams.
13        Plaintiff’s complaint also contains allegations regarding
14   the CITY’s “policies, customs, practices and decisions” regarding
15   promotions and administrative leave (“employment policies”).
16   (Id. at ¶ 54)   Plaintiff alleges that Chief DYER had policy-
17   making authority over the employment policies and that “DYER used
18   the...FRESNO policies in retaliatory fashion to deprive NEVEU of
19   his rights as specifically alleged.”        (Id.)
20
21                           IV.     LEGAL STANDARD
22
23        Fed. R. Civ. P. 12(b)(6) allows a defendant to attack a
24   complaint for failure to state a claim upon which relief can be
25   granted.   A motion to dismiss under Fed. R. Civ. P. 12(b)(6) is
26   disfavored and rarely granted: “[a] complaint should not be
27   dismissed unless it appears beyond doubt that plaintiff can prove
28   no set of facts in support of his claim which would entitle him

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 1   to relief.”    Van Buskirk v. CNN, Inc., 284 F.3d 977, 980
 2   (9th Cir. 2002) (citations omitted).       In deciding whether to
 3   grant a motion to dismiss, the court “accept[s] all factual
 4   allegations of the complaint as true and draw[s] all reasonable
 5   inferences in favor of the nonmoving party.”          TwoRivers v. Lewis,
 6   174 F.3d 987, 991 (9th Cir. 1999).
 7        “The court need not, however, accept as true allegations
 8   that contradict matters properly subject to judicial notice or by
 9   exhibit.    Nor is the court required to accept as true allegations
10   that are merely conclusory, unwarranted deductions of fact, or
11   unreasonable inferences.”      Sprewell v. Golden State Warriors,
12   266 F.3d 979, 988 (9th Cir. 2001) (citations omitted).             For
13   example, matters of public record may be considered under Fed. R.
14   Civ. P. 201, including pleadings, orders and other papers filed
15   with the court or records of administrative bodies.             See Lee v.
16   City of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001).
17   Conclusions of law, conclusory allegations, unreasonable
18   inferences, or unwarranted deductions of fact need not be
19   accepted.   See Western Mining Council v. Watt, 643 F.2d 618, 624
20   (9th Cir. 1981).
21
22                               V.     ANALYSIS
23
24        A.     Whether Plaintiff States a Monell Claim Against the
                 CITY Under § 1983.
25
26        Defendants argue that Plaintiff’s § 1983 claim against the
27   CITY should be dismissed because Plaintiff’s factual allegations
28   are insufficient to support Monell liability under § 1983.

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 1        Under the Supreme Court’s decision in Monell v. Dep’t of
 2   Soc. Svcs. of City of New York, 436 U.S. 658, 694 (1978), a local
 3   government is liable under § 1983 for its policies that cause
 4   constitutional torts.   See also McMillian v. Monroe County, 520
 5   U.S. 781, 785 (1997).   A suit against a local official in his
 6   “official capacity” is the same as a suit against the local
 7   governmental entity itself.    Id. at 785 n. 2; Doe v. Lawrence
 8   Livermore Nat’l Lab., 131 F.3d 836, 839 (9th Cir. 1997) (“a suit
 9   against a state official in his official capacity is no different
10   from a suit against the [official’s office or the] State itself”
11   (citing Will v. Mich. Dep’t of State Police, 491 U.S. 58, 70-71
12   (1989))); Ruvalcaba v. City of Los Angeles, 167 F.3d 514, 524 n.3
13   (9th Cir. 1999).
14        A litigant can establish a Monell claim in one of three
15   ways:   “(1) by showing a longstanding practice or custom which
16   constitutes the standard procedure of the local governmental
17   entity; (2) by showing that the decision-making official was, as
18   a matter of state law, a final policymaking authority whose
19   edicts or acts may fairly be said to represent official policy in
20   the area of decision; or (3) by showing that an official with
21   final policymaking authority either delegated that authority to,
22   or ratified the decision of, a subordinate.”        Menotti v. City of
23   Seattle, 409 F.3d 1113, 1147 (9th Cir. 2005) (internal quotations
24   omitted) (quoting Ulrich v. City and County of San Francisco, 308
25   F.3d 968, 985-86 (9th Cir. 2002)).
26        As an initial matter, Plaintiff’s allegations against Chief
27   DYER and his allegations regarding the CITY’s policies, customs,
28   and/or practices are confusing.     Paragraph 54 of Plaintiff’s

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 1   complaint alleges that:
 2             Chief DYER’S actions, as alleged herein, were
               taken as an official policy maker, and with
 3             the accompanying authority to which DEFENDANT
               FRESNO delegated its governing powers in the
 4             subject matter areas in which these policies
               were promulgated or decisions taken or
 5             customs and practices followed. The acts and
               omissions of DEFENDANT DYER, as alleged
 6             herein, manifested or conformed to official
               policies, customs, practices, or decisions of
 7             DEFENDANT FRESNO, in that FRESNO delegated to
               DYER its policy making authority in all
 8             matters of employment relations within the
               DEPARTMENT, and/or DEFENDANT FRESNO, with
 9             knowledge of the afore said [sic] policies,
               customs, practices and decisions of DEFENDANT
10             DYER, approved, ratified and adopted said
               policies, customs, practices and decisions.
11             More specifically, DYER, as the Chief of
               Police, has final official policy making
12             authority with respect to promotions within
               the Police Department, as well as placing
13             officers on administrative leave and
               subjecting them to a fitness for duty
14             examination. Moreover, DEFENDANT DYER acted
               pursuant to FRESNO’s policies on promotions
15             as well as FRESNO’s policy in placing
               employees on administrative leave pending a
16             fitness for duty examination, to which
               DEFENDANT DYER was delegated final official
17             policy making authority over. In doing the
               things it is alleged DEFENDANT DYER has done,
18             DEFENDANT DYER used the aforementioned FRESNO
               policies in retaliatory fashion to deprive
19             NEVEAU of his rights as specifically alleged.
20   (Doc. 37, Third Am. Compl. ¶ 54)       It is not clear, based upon
21   these allegations, whether Plaintiff attempts to allege a claim
22   against the CITY for “a longstanding practice or custom” that led
23   to the alleged violation of Plaintiff’s constitutional rights, or
24   whether Plaintiff attempts instead to allege a Monell claim
25   through one of the other two means, i.e., the constitutional
26   violation was caused by the act of an official with final
27   policymaking authority or by the ratification of unconstitutional
28   conduct of subordinates by an official with final policymaking

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 1   authority.   Liberally construed, Plaintiff’s allegations appear
 2   to be an attempt to allege a Monell claim in all three ways.
 3        As to the first variation of a Monell claim, Defendant
 4   argues that Plaintiff has failed to allege facts supporting the
 5   existence of a policy.   Plaintiff’s response is that he does
 6   allege the existence of a policy, referring to the allegations
 7   “in paragraph 54 of the Third Amended Complaint that Fresno
 8   maintained policies on promotions as well as placing individuals
 9   on administrative leave.”      (Doc. 47, Pl.’s Mem. 5)
10        However, alleging that the CITY maintained official
11   employment policies is not a sufficient basis on which Monell
12   liability can be established.      Plaintiff does not describe what
13   these specific policies are (such as denying promotions to
14   officers who speak out), or how they were used to deprive
15   Plaintiff of his constitutional rights.        Plaintiff’s Monell
16   claim against FRESNO in his Second Amended Complaint was
17   dismissed for the same deficiency.      (Doc. 35, July 2005 Order 30)
18        However, it can be inferred from Plaintiff’s allegations
19   that he attempts to plead the existence of a custom or practice
20   of retaliation (i.e., one that is different from the CITY’s
21   official employment policies).      Although Plaintiff does not make
22   this argument, such an attempt can be inferred from his
23   allegation that defendants WEST, FIFIELD, GUTHRIE, and GARNER
24   purposefully prevented Plaintiff from being promoted and that
25   they “had done similar ‘black listing’ to other officers who
26   spoke up.”   (Doc. 37, Third Am. Compl. ¶ 43)        One isolated
27   reference to blacklisting is not sufficient; however, the claim
28   that other officers had been “blacklisted” for speaking out,

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 1   although general, is adequate to put defendants on notice of the
 2   claim.     Plaintiff claims that blacklisting was a custom or policy
 3   of the police department.
 4        Plaintiff’s complaint also contains various other factual
 5   allegations that could be construed as constituting a custom or
 6   practice.    For example, the complaint alleges:
 7        (1)    After Plaintiff informed Captain WEST that he was
 8               going to report all sexual allegations or
 9               improprieties in writing to Internal Affairs, WEST
10               told Plaintiff that “if [Plaintiff] wanted ‘to
11               play it that way,’ and ‘not be a team player’ with
12               them, that was his choice but there would be
13               consequences.”   (Doc. 37, Third Am. Compl. ¶ 28)
14               The complaint does not describe what the
15               “consequences” are and does not allege that the
16               consequences were part of a custom or practice.
17
18        (2)    Sergeant Montejano advised Plaintiff that “he
19               should not have documented the racial harassment
20               because it caused staff at the Police Activity
21               League to become upset, including retired Deputy
22               Chief Lee Piscola, and that ‘pissing off a retired
23               Chief is a bad career move.’”    (Id. at ¶ 29)
24               Again, there is no further explanation as to
25               Retired Chief Piscola’s involvement in or
26               relationship to the purported retaliation against
27               Plaintiff.   There is no allegation connecting
28               Sergeant Montejano’s comment to any purported

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 1                custom or practice.
 2
 3        (3)     Chief DYER stated publicly “that he wanted control
 4                over who was promoted” and subsequently introduced
 5                a “practical phase” to the promotions process.
 6                Plaintiff alleges that the “practical phase”
 7                included giving the answers to promotional exams
 8                to those sergeants whom Chief DYER wanted
 9                promoted.    (Id. at ¶¶ 32, 33)    Plaintiff further
10                alleges the complaints of other candidates
11                regarding this practice led to a hearing before
12                the Civil Service Commission at which Plaintiff
13                testified.   The defendants are required to draw
14                the inference that such cheating on the
15                promotional exams was part of the Chief’s alleged
16                custom or practice in failing to promote Plaintiff
17                and others who were considered undesirable.
18
19        Neither the Defendants nor the court should be required to
20   guess or add allegations to divine the substance of the policy,
21   custom, or practice that forms the basis of Plaintiff’s Monell
22   claim.     General notice pleading under Rule 8(a) requires only a
23   short and plain statement of the facts.         A complaint must, at the
24   very least, allow Defendants to adequately respond to the
25   allegations against them.      Plaintiff’s complaint contains
26   references to the CITY’s official employment policies, as well as
27   to Plaintiff’s circumstantial encounters with various defendants,
28   and to “blacklisting” employees, these conclusory allegations

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 1   barely describe any policy, custom, or practice that is
 2   implemented to effect constitutional inquiry.
 3        In his opposition, Plaintiff argues that his complaint
 4   sufficiently alleges a municipal liability claim against DYER
 5   under the second variation by which a Monell claim can be
 6   alleged, i.e., based on a single decision by an official with
 7   final policymaking authority.    A litigant can establish a Monell
 8   claim based upon a single action by a decision-making official
 9   with final policymaking authority, Pembaur v. City of Cincinnati,
10   475 U.S. 469, 482-83 (1986).
11        Plaintiff’s allegations relating to DYER’s final policy-
12   making authority include the following circular sentence:
13             The acts and omissions of DEFENDANT DYER, as
               alleged herein, manifested or conformed to
14             official policies, customs, practices, or
               decisions of DEFENDANT FRESNO, in that FRESNO
15             delegated to DYER its policy making authority
               in all matters of employment relations within
16             the DEPARTMENT, and/or DEFENDANT FRESNO, with
               knowledge of the afore said [sic] policies,
17             customs, practices and decisions of DEFENDANT
               DYER, approved, ratified, and adopted said
18             policies, customs, practices and decisions.
19   (Doc. 37, Third Am. Compl. ¶ 54)      This requires defendants to
20   search for the underlying alleged “customs or policies.”           With
21   respect to the CITY’s official administrative leave policy,
22   Plaintiff alleges that “DYER used the aforementioned FRESNO
23   policies in retaliatory fashion to deprive NEVEU of his rights as
24   specifically alleged.”   (Id.)
25        Defendants are left to infer that Plaintiff was deprived of
26   his first amendment constitutional rights by DYER’s alleged
27   discriminatory placement of Plaintiff on administrative leave,
28   which became the CITY’s policy because it was implemented by a

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 1   department head with policy-making authority.        Plaintiff alleges
 2   that two officers in addition to DYER are responsible for having
 3   placed Plaintiff on administrative leave, including ENMARK (the
 4   deputy chief) and GUTHRIE (a lieutenant).      (Doc. 37, Third Am.
 5   Compl. ¶ 45)
 6        Plaintiff also argues that he states a Monell claim under
 7   the variation, i.e., based on delegation of authority.          Plaintiff
 8   alleges that the CITY delegated authority to DYER; but offers no
 9   explanation how this is distinguishable from the allegation that
10   DYER had final policymaking authority for the CITY.          The third
11   variation of a Monell claim involves the situation where final
12   decision-making authority was delegated to subordinates.           See
13   Menotti, 409 F.3d at 1147.    Plaintiff’s complaint contains no
14   allegations that DYER delegated final decision-making authority
15   to a subordinate.    Plaintiff’s complaint does not state a Monell
16   claim in the third way.
17        Defendants’ motion to dismiss Plaintiff’s Monell claim
18   against the CITY is DENIED.
19
20        B.     Whether Plaintiff States a Claim under Cal. Labor Code
                 § 1102.5.
21
22        Plaintiff’s retaliation claim under Cal. Labor Code § 1102.5
23   was dismissed for lack of jurisdiction on the basis that
24   Plaintiff failed to allege that he exhausted available
25   administrative remedies, included but not limited to filing a
26   complaint with the Labor Commissioner.      (Doc. 35, July 2005 Order
27   33-35)    Plaintiff’s Third Amended Complaint contains a claim
28   under Cal. Labor Code § 1102.5.    Defendants argue that their

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 1   motion to dismiss Plaintiff’s § 1102.5 claim was granted without
 2   leave to amend, and that Plaintiff brings this claim again in
 3   violation of a previous court order.
 4         Plaintiff argues that the court’s order was ambiguous as to
 5   whether leave to amend was allowed.     Defendants are correct in
 6   that the July 2005 Order did not grant Plaintiff leave to amend.
 7   Nevertheless, Plaintiff’s opposition will be construed as a
 8   request for leave to amend this claim.
 9         Plaintiff argues in his opposition that “this Court
10   misapplied the ruling in Campbell v. Regents of the Univ. of
11   Cal., 35 Cal. 4th 311 (2005).    Plaintiff misinterprets the
12   court’s previous holding.     The July 2005 Order stated “Plaintiff
13   does not allege that he exhausted available administrative
14   remedies, including bringing a complaint before the Labor
15   Commissioner, before bringing suit.”        (Doc. 35, July 2005 Order
16   35)   Campbell held, among other things, that despite § 1102.5's
17   silence on the issue whether a claimant must exhaust
18   administrative remedies before filing suit, California’s
19   administrative exhaustion requirement nevertheless applies.             35
20   Cal. 4th at 329-30.   Plaintiff’s Second Amended Complaint did not
21   allege that he exhausted any administrative remedies as to
22   § 1102.5, including filing a claim with the Labor Commissioner,
23   which is a remedy that is expressly available under Cal. Labor
24   Code § 98.7.2   (See Doc. 23, Second Am. Compl. ¶¶ 55-58)
25
           2
26          Plaintiff’s argument that there is no procedure in place
     in the Labor Commissioner’s office to file such claims is
27   irrelevant. The phone call placed by Plaintiff’s counsel to the
     Labor Commissioner’s office is not properly judicially noticeable
28   under Federal Rule of Evidence 201. Whether a phone call took

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 1        Plaintiff’s Third Amended Complaint does contain an
 2   allegation that he exhausted all available administrative
 3   remedies.   While Plaintiff does not allege he filed a claim with
 4   the Labor Commissioner, he does allege he filed a tort claim
 5   pursuant to Cal. Govt. Code §§ 910, et seq.        Furthermore, he
 6   alleges that the CITY has no internal administrative remedies
 7   available that cover claims for retaliation under § 1102.5 and
 8   that filing a government tort claim did exhaust all available
 9   administrative remedies.      (Doc. 37, Third Am. Compl. ¶ 58)
10        While Defendant is technically correct that Plaintiff was
11   not granted leave to amend its § 1102.5 claim to allege
12   compliance with the exhaustion requirement, a policy underlying
13   federal civil procedure is that, absence prejudice to the
14   Defendant, leave to amend should be freely granted.           Fed. R. Civ.
15   P. 15(a) (“leave to amend shall be freely given when justice so
16   requires”); see also Eminence Capital, LLC v. Aspeon, Inc., 316
17   F.3d 1048, 1051-52 (9th Cir. 2003).      Plaintiff is therefore
18   granted LEAVE TO AMEND his § 1102.5 claim.        Whether Plaintiff’s
19   allegation that there were no adequate administrative remedies
20   for § 1102.5 claims (including but not limited to the practical
21   unavailability of filing a claim with the Labor Commissioner) is
22   a question of fact for the fact-finder.       At the pleading stage,
23   Plaintiff’s allegation that there were no adequate internal
24
25   place and the substance of the phone call consists of the
26   personal knowledge of counsel. Such evidence is not “generally
     known within the territorial jurisdiction” of this court, and is
27   also not “capable of accurate and ready determination by resort
     to sources whose accuracy cannot be reasonably questioned,”
28   either of which are required by FRE 201.

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 1   administrative remedies and that he exhausted the only available
 2   administrative remedy (i.e., the filing of a government tort
 3   claim), is sufficient to survive a motion to dismiss.
 4   Defendants’ motion to dismiss Plaintiffs’ § 1102.5 claim is
 5   DENIED.
 6
 7        C.   Whether Plaintiff States a Claim Under Cal. Govt. Code
               § 53298.
 8
 9        Defendants argue that Plaintiff fails to state a claim
10   against GARNER, FIFIELD, and WEST under Cal. Govt. Code § 53298.
11   Plaintiff does not address this argument in his opposition.           At
12   oral argument, Plaintiff’s counsel acknowledged this claim should
13   be dismissed.   Cal. Gov. Code § 53298(a) establishes liability
14   for any local agency officer, manager, or supervisor who
15   retaliates against any employee for filing a complaint with the
16   local agency reporting “gross mismanagement, a significant waste
17   of funds, an abuse of authority, or a specific and substantial
18   danger to public health or safety.”     Cal. Gov. Code §§ 53298(a),
19   53296(c); see also LeVine, 90 Cal. App. 4th at 212 (discussing
20   § 53298 in dicta).   The written complaints that are the basis of
21   Plaintiff’s § 53298 claim are (1) written report(s) of sexual
22   molestation by a former police officer; and (2) written report(s)
23   of racial harassment.   (Doc. 37, Third Am. Compl. ¶ 60)         The only
24   act of retaliation alleged in Plaintiff’s § 53298 claim is
25   placing Plaintiff on administrative leave.       (See id.)     Defendants
26   argue that Plaintiffs’ § 53298 claim should be dismissed as to
27   WEST, FIFIELD, and GARNER, since they are only alleged to have
28   played a role in the failure to promote Plaintiff and are not

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 1   alleged to have had a role in placing Plaintiff on administrative
 2   leave.    Plaintiff does not dispute this argument.           Defendants’
 3   motion to dismiss Plaintiff’s § 1102.5 claim as to WEST, FIFIELD,
 4   and GARNER is GRANTED.
 5
 6        D.     Defendants’ Rule 12(f) Motion to Strike.
 7        Fed. R. Civ. P. 12(f) provides that “redundant, immaterial,
 8   impertinent, or scandalous matters” may be “stricken from any
 9   pleading.”    Fed. R. Civ. P. 12(f).     “[M]otions to strike should
10   not be granted unless it is clear that the matter to be stricken
11   could have no possible bearing on the subject matter of the
12   litigation.”    Colaprico v. Sun Microsystems, Inc., 758 F. Supp.
13   1335, 1339 (N.D. Cal. 1991) (citation omitted).         Defendants argue
14   that several allegations should be stricken from the Third
15   Amended Complaint.
16        First, Defendants’ motion to strike the allegations in
17   paragraph 44 that the statute of limitations is tolled based upon
18   the continuing violations doctrine is GRANTED.         Plaintiff’s
19   argument based on the tolling of the statute of limitations based
20   on the continuing violations doctrine was rejected.             (Doc. 35,
21   July 2005 Order 21-25)
22        Second, Defendants’ motion to strike the allegation in
23   paragraph 54 (18:11) that Defendants violated Plaintiff’s
24   Fourteenth Amendment rights is GRANTED.       Any claim based upon an
25   alleged violation of Plaintiff’s Fourteenth Amendment rights has
26   been dismissed.    (Id. at 32-33)
27        Third, Defendants’ motion to strike Plaintiff’s § 1102.5
28   claim in paragraphs 55-58 is MOOT, as Defendants’ motion to

                                         16
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 1   dismiss Plaintiff’s § 1102.5 claim is denied.
 2
 3                               VI.     CONCLUSION
 4
 5         For all the foregoing reasons Defendants’:
 6   (1)   motion to dismiss Plaintiff’s 42 U.S.C. § 1983 claim against
 7         the CITY is DENIED;
 8   (2)   motion to dismiss Plaintiff’s Cal. Labor Code § 1102.5 claim
 9         is DENIED;
10   (3)   motion to dismiss Plaintiff’s Cal. Govt. Code § 53298 claim
11         as to WEST, FIFIELD, and GARNER is GRANTED;
12   (4)   Rule 12(e) motion for a more definite statement is MOOT;
13   (5)   Rule 12(f) motion to strike is GRANTED as to the allegations
14         in paragraphs 44 and 54 (18:11), and is DENIED as to all
15         other allegations.
16
17   SO ORDERED.
     DATED: October _8_, 2005.
18
                                                  /s/ Oliver W. Wanger
19                                             ______________________________
                                                      Oliver W. Wanger
20                                             UNITED STATES DISTRICT JUDGE
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